Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 1 of 9
Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 2 of 9
Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 3 of 9
Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 4 of 9
Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 5 of 9
Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 6 of 9
Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 7 of 9
                           Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 8 of 9


      Fill in this information to identify the case:

                   2203 Looscan Lane LLC
      Debtor name __________________________________________________________________

                                              Southern
      United States Bankruptcy Court for the: ______________________             Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Esmeralda Painting Inc                            713-864-4818              Trade debt                                                                 $119,000.00
1    8605 Rannie Road
     Houston, TX 77080

     Tax Assessor - Collector                          713-274-8000            Property taxes      Unliquidated                                              $55,633.00
2
     P O Box 4622
     Houston, TX 77210-4622

     Aldrete's Masonry LLC                             832-548-1767             Trade debt                                                                    $50,433.00
3    8519 Forest Grove Dr
     Houston, TX 77080

     High Performance Home Companies                   713-256-8898              Trade debt                                                                   $47,522.50
4    5438 Guhn Rd
     Houston, TX 77040

     BMC                                               281-440-9090             Trade debt                                                                    $30,806.79
5
     16002 Tomball Pkwy
     Houston, TX 77086

     Pedco Roofing Inc                                 713-467-2478              Trade debt                                                                   $30,434.00
6    1426 Brittmoore
     Houston, TX 77043

     SE Construction Inc                               713-805-9228              Trade debt                                                                   $25,393.30
7    225 Gonyo Lane, Suite 303
     Richmond, TX 77469

     Matt's Seamless Gutter Service                    713-681-8999             Trade debt                                                                    $21,115.00
8    6005 Milwee St., Suite 1006K
     Houston, TX 77092




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
                            Case 18-34660 Document 1 Filed in TXSB on 08/23/18 Page 9 of 9

                        2203 Looscan Lane LLC
    Debtor       _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Alpine Cut Stone                             281-566-8211              Trade debt                                                                     $20,000.27
9    4755 Alpine Rd, Suite 150
     Stafford, TX 77477

   Marchal/Stevenson Elevator Co Inc             713-961-1940               Trade debt                                                                     $12,888.50
10 1050 W Little York, Bldg E
   Houston, TX 77041

     L Hernandez Construction Inc                  Unknown                  Trade debt                                                                      $3,724.00
11
     P O Box 2535
     Spring, TX 77383

   Medina's Plumbing                               Unknown                 Trade debt                                                                       $1,750.00
12 601 Mitchell Rd
   Houston, TX 77037

   Chase Drywall                                  713-910-0433              Trade debt                                                                      $1,515.00
13 1585-B W Sam Houston Pkwy N
   Houston, TX 77043

     River Oaks Property Owners Inc              713-622-0001                  HOA              Unliquidated                                                $1,378.00
14
     3923 San Felipe
     Houston, TX 77027

     Forja Designs LLC                            210-745-0697               Trade debt                                                                     $1,353.13
15
     6113 Milwee St, Suite A
     Houston, TX 77092

     Scholl Lumber                               713-329-5300                Trade debt                                                                       $925.24
16
     6202 N Houston Rosslyn Road
     Houston, TX 77091

     EFH Consulting Engineers Inc                713-926-2490                Trade debt                                                                       $500.00
17
     2906 Carolton St
     Houston, TX 77023

     Brothers II Concrete LLC                     281-217-3671               Trade debt                                                                       $400.00
18
     2519 Woodgate St
     Houston, TX 77039

   ProSurv                                       281-996-1113                Trade debt                                                                       $400.00
19 P O Box 1366
   Friendswood, TX 77549

   Gainsborough Waste                            713-785-8050               Trade debt                                                                        $397.25
20 Dept 2
   P O Box 4509-2
   Houston, TX 77210-4509




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
